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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                            No. 19-CR-561 (LAP)
-against-
                                            No. 11-CV-691 (LAK)
STEVEN DONZIIGER,
                                                    ORDER
                     Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of Defendant Steven Donziger’s

November 24, 2020 letter [dkt. no. 218].       The special

prosecutors shall respond to Mr. Donziger’s letter no later than

December 9, 2020.    Mr. Donziger my file a reply no later than

December 16, 2020.

SO ORDERED.

Dated:      November 25, 2020
            New York, New York


                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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